     IN THE U.S. DISTRICT COURT FOR THE WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

STEPHEN CAULFIELD,                             )
                                               )
                       Plaintiff,              )     Case No.: 6:20-cv-3278
v.                                         )
                             )
TEXAS ROADHOUSE HOLDINGS LLC )
                             )
              Defendant.     )

                                    NOTICE OF REMOVAL

       COMES NOW Defendant Texas Roadhouse Holdings LLC, by and through counsel,

pursuant to 28 U.S.C. §§ 1441 and 1446, and respectfully represents to the Court as follows for

its Notice of Removal:

       1.      Plaintiff filed the present action in Greene County, Missouri on July 23, 2020

against Texas Roadhouse Holdings LLC, claiming personal injury as a result of an alleged

incident at the Texas Roadhouse restaurant in Springfield, MO on or about March 28, 2019.

       2.      On August 31, 2020, Defendant propounded Requests for Admissions on Plaintiff

regarding the value of his case.

       3.      On September 1, 2020, Plaintiff served his Answers to Defendant’s Requests for

Admission, denying that the total amount of damages he is seeking in this case does not exceed

$75,000. See Exhibit A, Plaintiff’s Response to Defendant’s Request for Admissions. Therefore,

Defendant has a reasonable believe that the amount in controversy in this case is likely to exceed

$75,000.

       4.      The foregoing action is a civil action in which this Court has original jurisdiction

pursuant to 28 U.S.C. § 1332. Plaintiff is a citizen of the State of Missouri. Defendant Texas

Roadhouse Holdings LLC is a limited liability company whose sole member is Texas



                                           Page 1 of 3

            Case 6:20-cv-03278-RK Document 1 Filed 09/03/20 Page 1 of 3
Roadhouse, Inc. Texas Roadhouse, Inc. is a corporation incorporated in Delaware with its

principal place of business in Kentucky. As such, complete diversity exists between Plaintiff and

Defendant.

       5.       Because there is diversity of citizenship in this case and the amount in

controversy is likely to exceed $75,000.00, this case can be removed to federal court pursuant to

28 U.S.C. §§ 1441 and 1332(a) by reasons of diversity of citizenship, and this Court has

jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a). Further, removal is timely because

this Notice of Removal is being filed within thirty (30) days of when Defendant first had a

reasonable basis for removal (i.e., that the amount in controversy exceeded $75,000, based upon

Plaintiff’s discovery answers) pursuant to 28 U.S.C. § 1446(b).

       6.       This case was commenced in the Circuit Court for the Thirty-First Judicial

Circuit, Greene County, Missouri, which is in this Court’s district. Therefore, this action is

properly removable to this Court pursuant to 28 U.S.C. § 1441(a).

       7.       A true and correct copy of all process and pleadings entered into the state of court

record in this action (except for Plaintiff’s Response to Defendant’s Request for Admissions, per

Local Rule 26.3) are attached hereto as Exhibit B and are incorporated by reference therein.

They include:

                a.     Petition for Damages

                b.     Summons to Texas Roadhouse Holdings LLC

                c.     Entry of Appearance by John P. Kemppainen, Jr. on behalf of Defendant
                       Texas Roadhouse Holdings LLC

                d.     Entry of Appearance by Jennifer L. Woulfe on behalf of Defendant Texas
                       Roadhouse Holdings LLC

                e.     Answer of Defendant Texas Roadhouse Holdings LLC to Plaintiff’s
                       Petition

                                            Page 2 of 3

             Case 6:20-cv-03278-RK Document 1 Filed 09/03/20 Page 2 of 3
               f.     Certificate of Service of Defendant’s First Request for Admissions
                      directed to Plaintiff

               g.     Certificate of Service of Plaintiff’s First Interrogatories and First Request
                      for Production directed to Defendant

               h.     Plaintiff’s Reply to Defendant’s Affirmative Defenses

       8.      Defendant has provided written notice of this removal to Plaintiff and to the

Circuit Court for the Thirty-First Judicial Circuit, Greene County, Missouri, by filing a Notice of

Filing Notice of Removal, together with copies of this Notice of Removal, in that court.

       9.      Defendant’s counsel is authorized to practice law in the State of Missouri and in

the United States District Court for the Western District of Missouri.


                                             RYNEARSON, SUESS, SCHNURBUSCH
                                             & CHAMPION, L.L.C.

                                             BY: /s/ John P. Kemppainen, Jr.
                                               John P. Kemppainen, Jr.       #42461MO
                                               Jennifer L. Woulfe            #64252MO
                                               Attorneys for Defendant
                                               500 N. Broadway, Suite 1550
                                               St. Louis, MO 63102
                                               314-421-4430/314-421-4431 (FAX)
                                               jkemppainen@rssclaw.com
                                               jwoulfe@rssclaw.com

                                CERTIFICATE OF SERVICE

        The undersigned hereby states that the foregoing was filed via the Court’s electronic
filing system this _3rd day of September, 2020 with service via email to: Daniel P. Molloy,
Aaron Sachs & Associates, 3271 E. Battlefield, Ste. 350, Springfield, MO 65804,
daniel@autoinjury.com.

                                                     /s/ John P. Kemppainen, Jr.




                                           Page 3 of 3

            Case 6:20-cv-03278-RK Document 1 Filed 09/03/20 Page 3 of 3
